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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
              Petitioner,                     )
                                              )
       v.                                     )          No. 1:14-CR-20 SNLJ
                                              )
 BILLY G. BIGGS,                              )
                                              )
              Respondent.                     )

                                           ORDER

       This case is before the Court on defendant's pro se motion for compassionate release,

 doc. 149. Thereafter, counsel for defendant entered appearance and filed a "Memorandum of

 Counsel in Support of Pro Se Motion for Reduction of Sentence for Compassionate Release,"

 doc. 154. The Probation Office then filed a "Compassionate Release Report," doc. 156, and

the government.filed a "Response" in opposition, doc. 157. On December 1, 2014, this Court

 sentenced def(?ndant to a term of imprisonment of 151 months for the offenses of Aiding and

Abetting the Burglary of a Pharmacy and Aiding and Abetting Possession with Intent to

 Distribute a Controlled Substance. Defendant is presently serving his sentence at FCI

· Memphis.

       Defendant's motion is based on his representation that he suffers from "chronic asthma,

 hypertension, severe myopia, bilateral hypertensive ret1nopathy, and an immunocompromised

 state." He claims that "His particular medical conditions, race, and the outbreak of COVID-




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19 at FCI Memphis, renders [him] particularly vulnerable to severe complications and possible

death."

          Under § 3582(c)(l)(A)(i), this Court may reduce a sentence if "extraordinary and

compelling reasons warrant such a reduction... and that such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission. . . ." Sentencing

Guidelines sec. lBl.13, Note 1, identifies the extraordinary and compelling reasons that may

justify compassionate release, which include categories like terminal illness, debilitating

medical conditions, advanced age, and death or incapacitation of certain family

members. Defendant here does not fall into any of these categories. More particularly, and

as pertinent here, Note 1 explains that defendant's medical condition must be one "that

substantially diminishes the ability of the defendant to provide self-care within the

environment of a correctional facility and from which he or she is not expected to recover...

" In this regard, the probation report states that defendant "is currently assigned to Care Level

1, which is healthy or simple chronic care," and that his medical care "appears to be

appropriately managed at this time."

          Nor does the COVID-19 outbreak afford defendant any relief. The federal courts have

consistently held that "the mere possibility of contracting a communicable disease such as

COVID, without any showing that the Bureau of Prisons will not or cannot guard against or

treat such a disease, does not constitute an extraordinary or compelling reason for a sentence

reduction under the statutory scheme." United States v. Korn, No.ll-CR-384S, 2020WL

1808213, at *6 (W.D.N.Y. Apr. 9, 2020) (collecting cases). Courts have so held even in cases


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where the facility has had COVID-19 outbreaks and the defendant himself tests positive. See

e.g United States v. Roberts, 18-CR-528-5 (JMF), 2020 WL 1700032, at *1 (S.D.N.Y Apr. 8

2020) (denying compassionate release for HIV-positive inmate at a facility with several

confirmed cases of COVID-19.); United States v. Seymon, No. llCR-10040-JES, 2020 WL

2468762, at *1, *4 Cc .D .Ill. May 13, 2020) (finding no "extraordinary and compelling

reason" to release a defendant with diabetes, high cholesterol, and a history of smoking from

a facility with nearly 250 inmates testing positive for COVID-19). Moreover, there is nothing

in this case to indicate that FCI Memphis has been or will be unable to treat defendant should

he become infected.

       Finally, defendant should not be released because he still poses a danger to the

community, which is an additional factor that must be considered under §3582(c)(l)(A). As

aptly stated in the probation report, defendant has a "history of aggravated assault with a

firearm on two occasions [and he attempted] to ram a police car while eluding law enforcement

at speeds in excess of 120 miles per hour."

       For the foregoing reasons, this Court finds that defendant has not demonstrated the kind

of extraordinary and compelling reasons that would justify a sentence reduction and

compassionate release. Accordingly the motion is denied.

       So ordered this 10th day of September, 2020.




                                               STEPHEN N. LIMBAUGH,JR.
                                               SENIOR UNITED STATES DISTRICT JUDGE


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